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house?=.'
MR;:VARTANIA: `No~way,'sir;~

MR." BQBERTS+. := Feel no~int:_midation, or no prejudice about
it?@w

..vm'.¢vARTMmA: "No,' sir.'" - "

MR;`ROBERTS: -Now, ladies and gentlemen of the jury, I

belie¢e that I asked you earlier,~only one.of you:.
intimated that yee had served on a'Jury before}¥ Let me

'edviee~you`thet-jury'duty is not eesy, lt is a very

difficult thingj You will be eventually called‘upod'to
reach-a-verdict in this case. To de that you have to
hear all of the evidence. ~The word verdict itself mesne
¢o'speak.the’truth. *That is what you'll have to do. Fiee
the factsg'find~out where-the truth'lies`end'render'your
verdict based on itji»Now, a verdict in the State of ""“

_ Nbrth.Cer¢lina has to be a unenimodé verdict} That is all

twelve pedble muet agree on the same§verdict§ agd when .
HiSiHenor charges ybu`in this case; in each of theee
charges there may be several elternetives.~"To be'a ver-.
diet all twelve have th agree on that particular verdict.
Now, there are twelve people who will sit on the jury.
There-should be twelve opinions, there should be twelve
Yoices, and His Hohor will tell you that it is your &ety
to.consider'all of the evidence§ eonsider'ell opinions`end

lee each voice be heard. Now, this is what we ca11 a

 

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 1 of 49

 

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deliberated verdict.' That is a verdict arrived at after
deliberation, and in his preliminary remarks His Honor
will caution you to not walk into a Jury room, and blurt
out hels guilty, or he‘s innocent, before you deliberate;

and listen to other opinions, because as he told you, you

vare liable to stake yourselves out and prior vanity

' wouldn't let you reverse your position. That is the

purpose in having twelve people so that there are twelve
opinions, twelve interpretations of the evidence, guid-

ance with each other, talking.to each other. lt is not

'a case of one, or two people going back there and dic-

tating to others, nor is it a case`o£ being stubborn, just

`-for_being-stubborn‘s sake.»‘The_jury system is not perfect

but ii l

(ll

lthe best system man has come up uith to judge

,`other people. We could do it with two_people, two, three,

five, but the law of this State is twelve. We ash you,

`can you deliberate with each other, can you go back in

that jury room and respect the opinions of each other,
explore all the evidence, and arrive at a deliberated
verdiet., Not a dictated verdict, whimsy'verdict, foolish
verdiot, but a deliberated verdiot. t means Working
together nith people. Now, are there any of you because
of any reason that you might know, who cannot do this?
Would you please raise your hand and indicate that fact?

Now, ladies and gentlemen of the gury, prior to this_case

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 2 0f'49

 

 

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being called there has been an orginazation, or the
people putting on activity in the streets. Do any of
you personally Know any of these people who are demon»
strating? _

MR. ROBERTS: Mr. Richey, who do you Know in that group?
MR. RICHEY: Mrs. Seahorn.

` MR. ROBERTS: Would the fact that you know her, or the

fact that she's on this committee affect your verdict,
Mr. Richey? 4
MR. RICHEY: No, sir.

MR. ROBEETS: Now, Mrs. sllman, I believe you are related

~to Mrs. Seahorn are you not?

HRS. ALLMAN: I sight be distantly, but I didn't Know She

Was demonstrating, or had anything to do with it.

l HRS. SIDES:‘ l also know her but I didn't know she was

demonstrating,

MR. RdBERTe: 'Mrs. Sides, would that make any difference
to you?

MRS. SIDES:` No, sir.

MR. RGBERTS: Mrs. Allman?

MRS. ALLMAE: 4No§ sir.

MR. RGBERTS: If she's related to you, it would be on

your husband's~side, would it not?

, MRS. ALLMAT: No,.sir, on my father'c side.

MR.,ROEERTS:v I£ Your Honor please, at this time the

Case 116CV00539CCELPA Document74 |3i|ed 06/17/16 pade“Snof 49

 

 

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State is going to exercise a pre-emptory and excuse Mrs.
Causby. Thank you very much, Mrs. Causby.
MRS.,CAUSBY: Do I step down?

MR, ROBERTS& Pleasee Now, ladies and gentlemen of the

t jury, you may think that jury selection is easy,_but Mr.

Atkins and I are trying to evaluate twelve people that

we don't know. I assume that none of you people know

may or Mr. Ron Bowers on my staff; if you do please_

raise your hand and indicate that fact. Mrs.Allman, you
stated that someone distantly related to you was one of
the demonstrators, how long have you seen her, ma'am?
MRS,'ALLMAN: l don't know that she is, if her name is
Seahorn, she may be but I do not hnow if she is related
to me; _ v
MR..RDBERTS: You do not Know?

MBS. ALLMAN: l don‘t.

MR. ROBERTS: Can l assume then that you have not seen

her in the recent past?

4MRS. ALBMAN: No, sir, have not.

Ms. sosssrs: New, ladies end gentlemen er the J'ury,
sometimes the State of North Carolina is at a distinct

disadvantage, in that you have probably never seen Mr.

Athins, or Ms. Hims before, but we bring you into Court

on traffic tickets before§ and sometimes you people get

q

a traffic ticket and never forgive us for issuing it,

. _,..... .... .. .,. ......., .... _-...... .'..,.,,.._..~.,.,~__......~ .4

Case 1:16-CV-00539-CCE-LPA Dooument 7-4 Filed 06/17/16 Paoe 4 of 49

 

 

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that is law enforcement. Have any of you ever got a
traffic ticket that you felt was so unjustified that your
prejudice against the State or some source of irritation
to_you, these things happen, we are aware of that, we‘re
just interested in the fact that you wouldn't let a little

thing like that affect your judgement in this case. If

` that has happened to you, would you please raise your

hand and indicate that fact to me in all candor? Your

` Honor, I‘d like the twelfth juror seated, please.

COURT: _You pass these eleven?

' Ms. Rosssrs; Ne, sir, but i'd like the twelfth ene.

COURT: No,'sir, I'm going to let you pass on the other

jurors.

 

MR;-Rossars= well, 1 went to speak in generalitiee.

 

l COURT: Well, they can hear you in the courtroom.

MR. Rosssms: Lediee end gentlemen, I have been teiking te

 

you approximately fifty-five minutes, and it is obvious
that l can't get to know you in that brief amount of time,
and l'm having to make an evaluation. The only thing in
this world that the State of North Carolina is interested
in is a fair and an impartial jury, and l could ask you

endless questions running into'nezt week to try to.

_ .,....,, ¢r. ,_.......m-»-”,.....~.m.-»w

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 5 of 49

 

 

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1 evaluate that. Now, you have heard by the tenor of my

z voice what the State's interested in, what the Defendant
3 is interested in, but really we don't care but about one
4 thing'and that is whether or not you can give the State

5 of North Carolina a fair and an impartial trial; and the

'6 Defendant a fair and an impartial trial. Now, whether l
7 ` have asked you or not for some reason you had rather not
8 give, or for something that'S bothering you about thisy
9“- whole thing,-if without giving me the reason, if you

10 vcan't be a fair and impartial Juror, without explaining '

11 it would you please raise your hand to me at this time

12 and express that fact? Can l assume from your failure to
113 raise your hands that none of you know of any reason

14 'consciously that you can't serve as an impartial juror in
15 this case? If'l'm wrong about that please raise your

16 hand. May it please the Court, the State is content with
17` the eleven.
18

cLERK: Leenerd ci. witherspoon.'
19 '“_'

20 md sossn'rs= iediee end gentlemen, before 1 forget is if

21 we take a recess orsnmething, when you come back_please
22 memorize your seat because the only way Mr. Atkins and l
23 _ know where you are is on this diagram, and if you don‘t
24 take the same seats we won‘t be calling you by your name,
25 because-we have got the seats numbered and this is the l

 

 

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only way we can identify you. Now, Mr. Witherspoon,

sir, from where you were seated, did you hear the questions
that I have been asking this jury? v

MR. WITHERSPOON:. Yes, sir.

MR. ROBERTS§ Where do you live in the County, Mr. Wither~

spoon?

` MR. WITHERSPOON; Kannapolls.

MR. ROBERTS: ls that Easter dircle?

A Correct.

Hhere is that?

Off Little Texaszoad.,

At, or near Cary Products?

Yes.

And are you publically employed, Mr. Witherspoon?
Ye-. ` -

UJ

Where do you worh, sir?

k
.»7

Celenese Coating in Charlotte.
Q Mr. Witherspoon, do you personally Know the defendant
in this case, Ronnie Wallce Long seated at the defence
table?'
P.' l'.. know his father.
Q _How long have you known his father?
For a long time.
Q Would you ever happen to ride to work with his father l

in Charlotte?

Case 1:16-cV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 7 of 49

 

 

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A No.~-
Q. When you say a long time, Mr. Witherspoon, how long
we talking about? 1
Something like twelve years.
You ever visited in his home, or him in yours?
weii, on¢e.

A
Q
A
Q Go places together?
A Noe

Q

Just describe the nature of the relationship to me,
Mr. Witherspoon.
A well, he made me a bird bath.
Q 'You consider him your friend?
A 4 Well, yes, sir.
Q Now, l want you to be candid and open with me, Mr.
Witherspoon, because of the relationship with this.de-
fendant*s father could you completely detach yourself
from that relationship and look at this evidence im-
partially? -
A Yes.
Q You think you could?;
s Uh huh. `

Q And it wouldn't affect you, sir, if you were to---

_ you wouldn't keep in the back of your mind, if I convict

this boy I'd have to go over and face his father?`
s weii, not really,r haanvt thought of it that way.

Case 1:16-cV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 8 of 49

 

 

 

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_Q `It wouldn‘t affect you at all? Sinoe l suggested it,
I want you to think about it a little bit, would it emr
barrass you at all?

A Well, l'd like to disqualify myself.

Q Well, I want you to be fair with me. I'm trying to be

fair with you. After my suggesting that, would it affect

` your deliberation on this verdict if you were sitting on

this Jury?
A Well, I’d like to be disqualified from it.
Q And is that the reason, Mr. Witherspoon, because you

feel it would be extremely difficult for you to sit on

~the jury?

A Yes.v

Q l appreciate your candor. Your Honor, I would

challenge for cause.

1COURT: All right. The Court.will excuse Mr. Witherspoon.

CLERK: Herman Franklin Flowers.

MR, ROBERTS: Mr. Flowers, sir, where do you live in the
County?
MR. FTDWERS: I live on Boy Scout Camp Road.

Q East of Kannapolis?

' A `iHest.

Q Excuse me, l was at the Girl!s Scout. Hest of Kanna-

polis. Mr. Flowers, I believe that's a sami-rural area

Case 1:16-cV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 9 of 49

 

 

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out there?

A Yes, sir.
Q . And where do you work, Mr. Flowers?
A l work in Charlotte. Transcon Trucking hine.
Q Are you married, Mr. Flowers?- '
n Yes, sir‘_ l
Is your wife publically employed?
Textile.

Did you and Mrs. Flowers have any children?

Yes, sir.

;1>

Q Now, Mr. Flowers, from where you have been seated in
the courtroom have you heard everything l have been
saying? ‘ ‘ _

A Yes, sir. _

Q Then you know the purpose of this question asking I
hope.

A Yes, sir.

Q Now, Mr. Flowers, do you recall reading, or hearing
anything about this case in the paper?

A I read a little bit about it in the paper when it
happened. 4

Q Recently have you read anything in the paper

A 1\10, sir. . '

Q k Mr. Flowers, dc you recall whether or not you formed,

or expressed any opinion as to the guilt, or innocence of

Case 1:16-cV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 10 of 49

 

 

 

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the defendant at the time you read it?

A No, sir.

Q Do you at.this moment have any opinion as to his
guilt, or innocence? k

A 1502 sir.

Q Did you understand my explanation to the other jurors

` that under the laws of this State he is presumed to be

_ innocent unless and until the State proves his guilt

beyond a reasonable doubt?

A Yes, sir.

Q Do you believe in that theory of law?

A Yes, sir.

Q You willing to give him that privilege?

A Yes, sir. v

Q Now, you heard me refer to some people for whatever
reasons demonstrating in the street, Mr. Flowers§ would
you be possibly intimidated by the activity?

h No, sir. _

Q ~Wouldn't frighten you?

A No, sir. _

Q Would you, or in the other opinion, would you feel

that these people are operating as an instrument of the
defendant and hold it against him?

A Nog sir.

Q You understand, do you, that we are trying the

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lawsuit in this courtroon, and as State's attorney, and
Defence attorney, we are content to try it in here, and
not try it in the streets?

i\- Y_es.

Q . Everybody in this Courtroom wants to try it'in- this
Court rather than in the street , and you can do that?
£!. Yes.

Q And wouldn't be affected at all by pickets around the
courthouse'? v

A ' Ho.

Q . No'.':, I\~ir. Flowers, you say you heard all of the
questions that l ashed, do you have any question about

anything l asked the other'jurors‘?

` A Ho,~ sir.

Q, - And you heard iv final question, and the only one

that anybody in this courtroom is interested in, is after
considering all'these questions l have ashed, and the
answers thereto, and so forth, whether l have asked you,
or not, or whether you want to supress it, do you lcnow

of any-reason that would prevent you from giving both ""-`"»¢-'

»\_d

'State and the defendant a fair trial?

'I»‘. ‘No, sir.

Q, Do not know of any-raason?
A I\Io reasons

Q

find you can hear the evidence and make up your mind

Case 1:16-CV-00539-CCE-LPA Document7-4 Filed 06/17/16 Paoe 12'0f'49"

 

 

 

 

 

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solely on what you hear come from that witness stand?

A Yes, sir.

Q Do you, sir, feel that you could deliberate with the
other jurors? v

A Yes, sir.~

Q And you feel that if you had an opinion would you
express it in the jury room?

A Yes, sir.

Q If someone said something that you didn‘t believe,
would you challenge them on it and say that's not what
happened out there§ if vou heard it ifferent?

h Yes, sir.

Q You wouldn!t challenge them?

A 'l would challenge them, but l wouldn't go any further.
Q The point I'm.mahing is this, we all go to football
games, and depending on whether you are on the home team,
or visiting team we don‘t quite see it alike as to who
was offsides, or something like that. We‘don‘t want one

side telling the other side. We want you to think to-

gether, and deliberate ali of it end explore it, and if

you feel you could sit with the other jurors, and be fair

minded respecting their opinion, and demanding that they

respect yours, until it is ali settled so the satisfaction

of all, and then that’s when you arrive and return a

verdict.

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A Yes, sir.
Q And you don‘t think you‘d have any difficulty on
thet? `

A No, sir.

. Q Now, the defendant is a black man. The prosecuting

witness is a white woman. Would that in and of itself

' affect your verdict in this case?

A No, sir.

lQ, And you can base your deliberation and your verdict
solely on the fact that they are both citizens of this
State?

A Yes, sir.

Q l don't recall, Mr. Flowers, if l asked you, did you
personally Know the defendant, Ronnie Wallace Long?

A No, sir. y

Q You know ei her of his parents seated immediately
behind,him?

A 're, sir.

s or his attorneys Mr. Auiine, er Ms. index

d Ho, sir.

Q Mr. Flowers, have you ever gotten a speeding ticket,

or anything that aggravated you to the er tent that you
never forgot about it, and that you are prejudiced against
law enforcemen ?

A No, sir.

 

 

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Q How is your health, sir?

A Good.

MR. ROBERTS: Your Honor, if Your Honor please, the State

is content with the gury.

MR, ATKINS:_ Ladies and gentlenen of the jury, my name

is Carl Atkins, and we represent the Defendant, and like
Mr. Roberts, we have a duty to the Defendant and to the
Court to inquire of you to see if we feel that you can be
fair and impartial jurors'in this case. To this end I

am going to ask you questions. Some-of them may be rather.
personal questions§ and I would ask that you not feel that
we are trying to pry into your lives, but understand that
we, as Mr. Long*s lawyers, have to try_to make an assess~
ment of the twelve of you people who we have never met
before, and have no knowledge of your opinions about
things. _So, don‘t hold any questions that l _might ask ¢

you that may embarrass you, or even make you angry, don't

hold that against the Defendant. l ask you to that at

the outset; Now,'Mr. Richey?
MR. RICHEY: Yes, sir.

MR..ATKINS: Where were you born?

A Cabarrus County.

Q Have you_lived here all your life?

A Yes, sir.

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Q Now, you said, I believe, that you were married and
you had children.

Yes, sir.z _

How many children do you have?

One daughter.

How old is she?

Twentyzthree;_

Mr. Bichey, well, let me ask the jury as a whole to

listen to the names of some possible witnesses in this

case, and if you know any of the witnesses would you

please raise your hand? The State would propose to_

possibly call the following people, that is Mrs. Sarah
Judson Bost, the victim of this crime; Mrs. Phennel; Mr.`
Phennel; and Dr. Lintz Monroe. In what capacity do you
know Dr. Monroe?

§§§Q§: He's my wife's'physician.

MR, ATKINS: Are you social friends?

§§§Q§: Ho, sir.

MR,'ATKINS£ What about you?

§§§Q§: He'Just delivered all my children.

MRr ATKINS: Who else raised their hand?' Let me just ask
you_generally, are most of you acquainted with him in his
professional capacity as1a physician? Are any of you

social friends with DT. Monroe? Do any of you feel the

.'fact that you know him, or he's provided some service for 1

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you, or your family would cause you to give any undue
weight to whatever he might have to say in the courtroom,

that fact alone? How about James Greer; Bernard Steele;

Carl Young; Mary Bonds, local teacher? Yes, sir, Mr.

Allison, you snow Ms. Bonds?
MR. iLLISOH: l do.

Q In what capacity do you snow her?

A ?riends, that‘s all.

Q Do you visit in her home?'

s 1\10.`

Q Has she taught any of your children?
s ies.

Q How long have you known her?

_ l Twenty, twenty-five years.

Q If she were to testify in this case, Mr. Allison,
would you be inclined to give her word more credence be-

cause of the fact that you Know her?

Q You think that you could listen to her testimony as
objectively as anybody else you didn\t know?

k Yes. .

us. srm~:s= Mr. sram;lin Nibioc:;,-_ J-:. Do you 1snow Hr.
1111310¢1¢;§

§§§Q§; He‘s my.children‘s doctor;

MR, ATKIWS:- This is Franklin Niblock, Jr.

g_m;_gl_z_; oh,`;hmior, no. '

 

 

 

 

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 17 of 49

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MR. ATKINs= Tnst I think is his_son, you don't know him?
JUROR: No, l'm sorrv.

'_MR. ATKINS: Thomas M. Carrl Any of you know him?

Thelma E} Phifer from Washington, D. C. Do any of you
know her? -Now, let me ask you about some other_witnesses
that the State may~call who are police officers: Sgt.

J. s. Parneii; Mr. E. r. sierert;vur. i. s. n@et; oavia
Taylor; Mr. G. M. Vogler.

§§§Q§: 'Sir, I know most all of then just by name, and by
seeing them on the streets.

MR. ATKIHB: Mr. Van Eisenhower; Mr. Dennis Mooner; W. L.
Arthur, and C. C. Ludwich. Mr. Richey, you say you Know
most of these officers? -

MR. RICHL : Yes, sir.

MR. ATKINS: In what capacity?

A .Just as officers.

Q Have you ever been a witness for any of them, or had
any professional dealings with them? -

A No, sir.

'Q Have you visited in any of their homes, or have they

visited in your hone?

A N<J,l Sir. ' _

Q Nhu Richey, it's very possible sometimes for people to
take the attitude that a police officer should be given

more credence because of his position, and people some-

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 18 of 49

 

 

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times tend to believe a police o ficer befo.re they would
believe a civilian if there was a conflict in the testi-
mony. Do you think that you could, well, do you think
you would believe a police officer more than you would
someone else who is testifying to a different opinion?
A wo sir. ' ' '

Q Have you ever been a victim of a_crime of any sort?
A No, sir.

Q Have any of your relatives, or close friends been
victims of any crimes? 4

Relatives.

Who is the relative?

Gousin.

 

And what was the nature of the crime?

11>£911>¢®$>

Driving under the influence and several others; l
don't'know them all. d t 5 v

o i sale victims. l think you may not be talking about
the same thing. I don’t mean people who were charged, or

related to you, or has ever broken in a house of a close'

‘friend, or relative that you Know of?

A No, sir.

MR. ATKINS; Mr. Allison, levine just ask you how many of

these police officers do you know?

~Ms. ALLlsow; well§ l know about half or them. nr. vogler

-there, I'm a real good friend of his.

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 19 of 49 ' "

 

 

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{Good friend of Mr. Vogler?
Yes.
How long have you hnown Mr. Vogler?

Oh, ten years,7I.guess.

@'_v>@:>.o

Now, Mr. Allison, suppose that Mr. Vogler_testified in

this.case and your verdict in this case was contrary to

' what you think Mr. Vogler would like the verdict to be,

would you be embarrassed to run into him, or maintain

your friendship with him, if you voted differently?

A - No. ' v

Q Would you be inclined to give his testimony more
weight than you would that or too ooronoo.nt? .

A No.'

Q You would not be at all concerned, or bothered about
the fact that you have hnown Mr. Vogler ten years, and you
would have no hesitancy in facing him should you hold
against his position?

A No.

MR. ATKINS: 'Mr. Bonds, do you know any of the police

officers? Did you hear the names of the police officers,

l read out?

MR. BONDS: In the City of Concord?

Q Which officers do you Know in the City of Concord?_'

A l don‘t know any by name much, or anybody in Concord,

some in Kannapolis.

ease 1:16-cv-00539-CCE-LPA beaumont 7121 '-Fiied'06/11/16 Pao'e 2c of 49

 

 

 

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'Q In what capacity do you Know them? Do you visit with

them, or friends, or do you just Knew that they are
police officers?

A l just know they are police officers.

Q Have you ever been-a witness in a case where any of

these officers were involved?
'A No, I don‘t think so.

Q 1?ould the fact that you know these officers, or some

`of them, and if they testify would. that fact cause you to

give their word more credence than that of somebody else

:who testified who was not a police officer?
'A Well, l don't think they are right everytime, myself.

Q You tend to think that they would be right more often

than not,_is'that your view of it? Were you ever in the

Service, Mr. Bonds?

A uo, sir.

_ MR. ATKIHS: Mrs. Allman, did you know any of the officers

whose names I called out? _‘

MRs, ALLMAN~ Nos sir, i oion't.

Where were you born?

Cabarrus County.

Have you lived here all your life?
Yes, sir.

l believe you work for Tusacory`Yarns?

_A That's right.

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§§ 1 Q-=. Where is that located?
z A meat rain ha aioesont.
3 Q A.nd your husband worked at Cannon yMills?
4 a._ ~ Yes. »_ '

5 d Q : Let me.just ask you if the fact that a police officer
6 took the witness stand, would you tend to give morel
1. ` credenoe.to his testimony than you would to somebody else'
8 just hecause.he was a police officer?_
9 A `1ILdon't believe so.
10 Q 4Well, let me ask generally if there*s anybody on the
'11 panel that feels a police officerls word is any better

12 than anybody.else just_because he is a police officer?
13 'Mr. Allioon, did you tell me your wife worked,`or did you
tell Mr. Roberts that?
15 mm ALLIsoN: ros..-- § ~ -.
16 ws. An<.INS-=*~""" where does she worw?.~_

11 A carolina .oii_ oompo.ny.

18 LIR;. ATKINS: And Mr. Bonds, you ,-are..r.etired from Gannon
19 rouge ,. `

zo 113. souns= ~Y`os, sir. y

21 Q show long did you work for Cannon Mills?

22 A Very near  forty~eight.years.

. _ 23 Q You are aware, are you not, that the complaining wit-
24 ness in this oase,'Mrs. Juddy Bost, was related by

 

25 ' marriage~to a former officer of Cannon Mills? Are you

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 22 of 49

 

 

 

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aware of that?

s Ho, sir. y

Q , well, if that should come out during the course of
this trial, would your past association with Cannon Mills
influence you to believe Mrs. Bost's testimony, or give
more weight to Mrs. Bost's testimony because of your
former association with Cannon-Mills? Would you feel in
any way intimidated, or influenced by her relationship to

an officer of Cannon Mills?

A I-IO.

MR. ATKIH : yMrs.-Allman, your husband works at Cannon
Mills at the present time? ` v

MRS1 ALLHAN§ Yes, sir.

Q Again if it appears during the course of the trial
that Mrs. Bost was related to a former officer of Cannon
Mills, and that there may be people at Cannon Mills who
are interested in the outcome of this casey do you think
the fact that your husband is presently employed there

would cause you to develop any prejudice toward the De-
fendant on that basis?

A No, sir.

Q Do you feel that you can be completely free from any
pressure, or influence of Cannon.Mills in that manner,
during the course of this procedure? v

A Yes, sir. 1 f 1 1

Q You are employed by Cannon Mills?

é. Yes~ sir.

._ . ......,.~.._......._..~... ._......

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 23 of 49

 

 

 

 

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How long have you been employed there?

About ten years.

Q
A
Q What is your job title over there?
A I run an electric doffer, and tie warps.
Q 4'vIould that be considered management?`

A

No, sir, it‘s just, you know, gust regular employee,
you Know. l n
Q Do you Know Mr. E. Gray Bost?
A No, sir, I~don't believe I do.-
Q You don't recall hearing that name associated with
Cannon Hills? _ l
A l have'heerd it called, yes, sir. 4
Q I believe he's dead now, but at one time during thel
course of your ten year career he was Treasurer of the
Company? _
A No, I don't---
Q You don't remember that?

A No, sir.

MR; ATKINS: Mr. Bonds, did you know Mr. Bost?

.MR.'BOHDS: Well, 1 know him when I see him and every-

thing, of course, I never had no dealings much with him,

or even know him personally only just his name.

Q You just know he was the Treasurer of Cannon Mills?

A tYeeh.

MR. ATKINS: Mr. Flowers, do you work for Trans-

case 1;"1<;:@0:065"§9':'<':'<':';:M "bo'¢ume‘m"%;`4"`"F`n'¢'d' '0€5/`1"7/`1"<§" §§5`@`2`;'1'01 49

 

 

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Continental Truchin; Lines?

MR. FLOWERS: Yes, sir.

Q How long have you'worked for them?

A ll have been with them since Hay of this year.
Q Nhat kind of work did you do before that?

A 1 drove a truckr

Q Eor whom?

A central actor Lines.

s also ' in chariotte?

A

Q Have you ever been connected in any way with iztnon

A Some fifteen, twenty years ago.
a io" worked for them fifteen or twenty years ago?
A ~Uh huh.'

Q l believe you said that you had read something about

d

his case, is that correct?

A l read it in the paper when it first came out.

.{D

How old are your children?`

§5>

Twenty-one and twenty-six---twenty-five.

Q Twenty-one and twenty-five?

§ ,Yes.

Q And what sex is the twenty-one year old?

A sir‘? '

Q What is the sex of your twenty-one year old?

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 25 of 49

 

 

 

 

 

 

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A She‘s a daughter.

Q ind the' wenty-six year old?~

A Boy.

MR.'ATKIHS: Let me continue. l would like to ash each

juror to raise their hand if they have ever been any mem-
ber of the organizations l am going to name, and also

raise your hand if any member of your immediate family were
members at anytime, or members at the pre sent, of these
organizations. Any of you, or members of your family now,
or in the past have any of you ever.belonged to the John_
Burhe Society? Have any of you, or any members of your
family ever belonged to the Ku Kluijlan? Have any of you,
or any riembers of your family ever been members of any
Veteran's Grganization?

JUBDE;' Service Organization, sir.

-es, lilce Veterans of Foreign Wars°

<€J ~
1<’l

A_- smerican Wars._ l‘m not at the present, but l was a
member of the Veteran's of Foreign Wars.

Q Have any of you ever been members of the National
Rifle hssociation, or are you presently a member of this
Association?'

JUROR: Not at the present time.

Q When were you a member?

A I have been a member since l945, and dropped my

membership just last year.

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 26 of 49

 

 

 

 

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Q You do a lot of hunting?

A Hunting, target practice.

Q ,Anybody else raise their hand to that question? Have
any members of the jury panel as it is presently con-
stituted ever been the victim of any kind of crime?
JUROR: fes, sir, l was in a robbery mugging case last
duly in G_eenville, South Carolina.

Were you the victim?

I was the.victim.

Has anybody ever apprehended or brought to trial?`
uo. 1

Any of the rest of the Jurors, have you ever been
victims of any kind of crime? Hhat about members of your
immediate family, or close friends, have any of those
people ever been victims-of any mind of crime?

Q yMrs. Slupe§ l believe you indicated when Hr. Roberts
was asking you questions that you had served on the jury
before, is that correct?

MRSg SLUPE: Yes, sir.

Q What kind of jury was that, criminal or civil?

It was criminal court.

Was that here?

Yes.

In Cabarrus County, when was that?

v>b><o:>

About four years ago.

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 27 of 49

 

 

 

ind what t;-e of case was it?

Indecent exposure.

Q
A
3 Q What was the result of the jury's deliberation?
A 'He was found guilty.

Q Do you feel that your prior service on this jury will
' 6 affect you in deliberating on this case?

1 A Ho,'eir{

8 Q Eow, ladies and gentlemen of the jury, when Hr.
9 Roberts was asking you questions about your hearing of
10 this case, or reading of this case on prior occasions, he
11 asked you if you had any opinions as to the guilt, or
12 innocence of this defendant, Ronnie Long, and each of you
13 who indicated that you had heard of this case, said that
( . 14 you had no opinion as to his innocence, or guilt. The -
- 15 standard as I understand it, Mr. Richey, is.that a person
`16 is presumed innocent until proven guilty. 'Keeping that in
17 mind do you presently have an`opinion?

18 A No,`sir. v

19 Q Do you think that Mr. Long has any kind of burden to
20 show you that he is innocent?

21' `A` No, sirr

22 Q You heard the phrase, the presumption of innocence
23 before? l

'24 A Sir?

25 Q_ Have you heard the phrase the presumption of innocence?

 

 

 

 

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 28 of 49

 

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A Ho, sir.

Q Well, let me say to the whole jury panel, that under
our system of justice a person, any person, is presumed
innocent, and the State has the burden of proving him

guilty,`of proving him guilty to you beyond a reasonable

doubt. Therefore, Ronnie Long sits here presumed innocent

at this moment. Now, is there anybody who does not under-
stand what l‘m saying to you? Mr.~Richey, if, as the
Court will instruct you later, that is the correct
standard, can you now tell me that you presume Mr. Long -
to be innocent? .

M'R. month res, sir.

Q The District Attorney read to you and l assume you
were sitting out here, and you heard him read the Bill,
or Bills of Indictment, do you understand that these arev
nothing but pieces of paper that charge a crime; that it
is simply a part of a procedure to get a person into
court? In other words, let me ash you Mr. Allison, do~
you reel that by the virtue of fact that nr. tang has
been indicted and brought to court that he must have done
something, or he wouldn*t be here? How do you feel about
that?

MR. ALLISON: Well, he was brought here for some reason{

Q Yes, sir, he was brought here because a 3111 of

1 Indictment was issued.

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 29 of 49

 

 

 

 

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n rhat's right.`

Q Do you feel that because these Bills of Indictment
have been issued that some burden should go forward now
on Mr. Long during the course of this trial to convince
you that he didn't.do something? And l'd like for you to
be candid with me. -

n Let me~hear that last part again.

Q Let me re-phrase it, and try to make t a little
clearer. Mr. Long has been indicted by a Grand Jury, and
two pieces of paper were issued, which here read to most
of you, some of you may not have been here.' These papers
charged that Mr. Long committed the crime of First Degree
Rape, and First Degree Burglary, do you feel, knowing that
these pa_ers have been issued, that Mr. Long during the
course of this trial must come forward with some evidence
to show you that he did not do what he was charged with?
Do you feel he should do that?

MR, ALLISOB: No.

MR¢ ATKINS: Tir. Bond, do you understand what l just askedL
Mr. Allison?

-A Yes.

Q You understand that Mr.'Long has been indicted?
A yYes.

Q ‘ Do you feel that he should, that he wouldnlt be here
if he hadn't done something to get himself here?

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 30 of 49

 

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..-;,`1:`_

 

1 A Well, it lo OKS like he was brought here for something
2 like Mr. allison said.
3 Q ill ri~ht, he 1,'as brought here because the Grand Jury

4 indicted him and charged him.with these two crimes. Dc

5 you feel like because of this that you are goincr to expect
6 hin to get up there and tell_you something about why he

7 didn‘t do what he‘s charged with doing? _

8 A Hell, l‘ve~heen on the Grand Jury one time before, and

9 they ~eneraliy rina~enythin§ iile that a true tiii, 1
10 don't anew whether Mr. Long is, or whether he ain‘t. That's
11 the way l look at it.

iz .Q He res indicted by a Grand Jury and you know what a
13 true hill is?

14 A res

15 Q 30 you feel like that if Mrs. 3ost ge ts up here and
15 says that': the man that raped me and broke into my house,
\".7

that he nee eds to get up there and tell you differently,
18 . you feel like he should do that in order for you to find
'19 him not gull y?

20 A Well,l don‘t know. If Mrs. BOSt Knows the man, and

21 all, it looks like she would be telling the truth, I don't

22 know.

23 Q In other wordsy you‘ll expect if Mr. Long didn't take
'24' that stand that he's hiding something, is that the way you
j 15. feei? l `

 

 

 

 

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 31 of 49

 

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A Yeah.

_ Q _ And that you could not give him the benefit of any`

doubt if he didn't take that stand? Is that your position?
A res.' `

Q So you feel as if it will be necessary for the de-
fendant to take the witness stand if Mrs. Bost points him
out as being the person that she says raped her? If you
don't understand me ask me.

A `I can‘t understand. Anyway, they're supposed to take
the witness stand, or not, before we decide on it.

Q You feel like the defendant should take the stand
before you decide anything?

A Yeah.

§Q§§L: Let me say this to you, ladies and gentlemen; the
Court will instruct you that the law in this State doesn*t`
require a defendant to take the stand, he has no duty to
prove anything; and I'll instruct you to that. I think x
that night clarify the thing some, and I‘ll instruct you
to that; he has no burden, the burden is on the State to
prove the defendant's guilt beyond a reasonable doubt, as
the court will explain that term to you at the proper time,

and remains with the State all during the course of this
trial. ` - - l

BEL_£I§;K§: Mr. Bonds, you understand what the Judge dust

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 32 of 49

 

 

 

 

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said to you? _

A,"Yes, sir. l 4
Q Now, that you have been informed of the fact that the
defendant has no duty at all to take the witness stand,
do you feel that you could still give him.a fair and imr
partial trial if he should choose not to take the witness
stand, without hearing'from his side?

A He ell_ it's just like the Judge said, the State, you
know, would decide on the case. l

MR. ATKINS:` Hrs. Allmen, do you understand the fact that
the defendant has no duty to take the stand? Do you feel
that you could listen to the evidence as presented by the
state, and withhold making a judgement before you
deliberate, without hearing_anything from the defendant?
NRS, §U1'1: les, sir. 1 .

Q Do you understand the concept of reasonable doubt?

gp

Yes, sir. d

Q Jhat does that mean?

A l Did I hays any boubt at all then l should not find him
guilty. 7 n

Q You should remove from, of those doubts in favor of_

the defendant under our law?

A Yes, sir.

)

,GOURT:  Let me say one thing, I don't know that that

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 33 of 49

 

 

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question is proper and the District Attorney is not ohject~
ing. The Court will instruct you as to the meaning cfa

to reasonable doubt, ls theree yperson on this jury that
can‘t take the Court's instruction as to what reasonable
doubt means? l don't believe that at this point in the.
trial-- that is a matter of law that I don‘t belie1.'e that

they would necessarily have to understand at this point.

aTKINS:_ All right, let me dust put it this way to all
of you. are all 01 you willing to accept the fact that
Ronnie Long is innocent until the State proves to you with
convincing evidence that he is guilty? Can all of you

do that?` Now, ladies and gentlemen, all of you I‘m sure

_ at one point in your life have either read, or seen a

Perry Mason's hook, or story. s that a fair assumption,_

13 there anybody thevis not remiiier with Perry Mssen‘e

TV show, and so on?_ There‘s something that happens to
people sometimes that defense lawyers call the Perry Mason
syndrome. That is the jurors expect lib s Perry Mason, the
defense lawyer will somehow pull a rabbit out of a hat,
and get'the real person to stand up and say, l did it, l
did it. Do any of you expect that hind of thing to happen1
in this trial? As Mr. Roberts pointed out to you, ladies
and gentlemen,-the_defendant is black and the prosecuting
witness in this case is white. _Now, I think that it
wouldn'+, be unrealistic ve say that people did not make

 

Case 1:16-cV-00539-CCE-LPA Document 7-4 'Filed 06/17/16 Pade 34 of 49

 

 

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preejudgments about other pecple. 'It may be because of
the length of their hair, it may be because of the way
they talk and behave. Frankly, it's a lot of times be-
cause of the_difference in race. How, I think that it

would be just as good to get that out in the open, and
talk about it some. Mr. Johnson~-

MR. JOHNSON: Yes, sir.

Q You are employed at the Lexington Construction Company?

Laxton.

How long have you worked there?

'Six years.

How old are you, sir?

'Twenty-five.

-In the course of your employment do you have an
occasion to work with, or alongside black people?

A Yes, sir. _

Q In what capacity do you work with black people at this
Company?

A Well, right now I'm carpenter but I started as a
helper, a laborer, and I worked with blacks and whites.
well, the some eo embody that starts out in construction
work. 1 _

Q Now, you are twenty-five years old, and I'll dust ask
you candidly did you ever experience any feelings against

a person because of their race, that you would not have

 

Case 1:16-cV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Pade 35 of 49

 

 

 

 

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experienced if they had been the same race as yourself?

A Hell, l don't know if l could truly say I'm not pre-

» Judiced to a certain extent, but l think everybody, if

you really came down to it would be. It's something I
think everybody's learning to live with.

Q' Do you think that whatever prejudices you might have,
or have had will influence your hearing this evidence,
black defendant, white victim?

A No, sir, not in this case. _

Q Do you think you could completely put aside any
feelings of prejudice in making a decision on'the evidence
in this case?

A Yes, sir. Thatis a person sitting there and his color
doesn't make any difference in my opinion right now;

MR. irkirsz nrs._sidos, how old tro you?

MRs. sIDas; Forty-six.

Where do you live?

Concord. -

Are there any black people in your neighborhood?

No, there's not.

ADSI>A'J¥P.O

Have you had many experiences with black people during

_ the course_of your life?

A 'No.

Q Do you acknowledge that at one point, maybe even today,

v that you have either consciously or sub-consciously

 

Case 1:16-CV-00539-CCE-LPA Docurnent 7-4 Filed 06/17/16 Paoe 36 of 49

 

 

 

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experienced feelings of prejudice because of a person's

race?
A Ho.
You have never judged a person on the basis of race?
Absolutely not.
Your children go to public or private school?
Public.
So, you believe that black people have the same rights

as any other people?‘

A Yes. r _ __

Q Do you think that over the number of years that black
people have been.denied any rights because of their race?
A Yes, l have.

Q Do you feel that you could sit on this Jury and Judge
the witnesses without consideration of their race?

A Yes. _ _ k

MR, ATKINS:, Mrs. Snyder, you live in~Concord?

MRS. SNYDER: Yes, I do.

yAre there any black people in your neighborhood?

Yes.

Do you know them well?

Well, I_grew up with a lot of them.

Where are you employed?

I own my own business in Kannapolis.

r> :> k> 1> r) w

what kind or businoso?

 

Case 1:16-CV-00539-CCE-LPA d Document 7-4 Filed 06/17/16 Paoe 37 of 49

 

/"'~'\

 

-1os

 

1 A Dress shop.

z 'Q Do you have any blacks.working there?

3 A No, I'm the only one that works the e.

4 Q ' Can you candidly say that you have never experienced~
5 any prejudice against black people?

6 A l never have. :

7 Q You have never felt there was any difference between

8 black and white people?

9 A HO.

 

10 Q ind the fact of race from any witnesses would not

11 influence your decision on who you believed?

12 A so, it soulan't.

13 9 _irs. Snyder, did you attempt to get excused from the
14 gury panel yesterday?

15 A ros,`: d+d.

16 _Q le there any reason that you would want to be excused
17 from this *ury panel today?

13 A NO.

19 Q You have worked out whatever problem was you had

20 yesterday?

21 A `Hell, the thing was, it was'a financial hardship to
ZZ' close my business up, since I run it by myself.
23 'Q So you had to close your shop to serve on this jury?

25 Q' Do you feel that this financial hardship is going to

 

 

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 'Paoe 38 of 49

 

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affect your ability to serve as a fair-and impartial ‘uror

in this case?

_ A No.

Q 'What was your response to the question by Mr,_Roberts
as to whether you had heard anything about this case?

A Well, l read it in the paper and that's about all.

Q Have you read anything recently in the paper?

A 'No. _

ss. ATKINS= Mr. soigior?

>

Yes,'sir.

Do you work for the Department of Transportation?
Yes,:sir.

How old are you?

Twenty years old.

Where do you live?

!D¢®P¢@$l>@

ln Hount Pleasant.
Do you live in a white neighborhood?

Yes, sir.'

D!D¢®

Have you ever had any unpleasant experiences with
black people? w

A No, sir.: _ _ g

Q Do you feel that black people are any less believable
than white people if they testify in this courtroom*

A No, sir. v _

Q , Do any of the jurors feel that black people are more

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 39 of 49

 

 

 

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likely to commit crimes, especially sex crimes, against
white women than a White person would be? Under our
system of justice a person is entitleito be judged by a
jury of his peers. How, it is obviously impossible to
expect to have a jury in each case where the person is
the sane age, same economical bachground, same educational
background, and same race. That's obviously impossible,
so the best we can do is to ask each of you whether you;

n

can sit in this case and put yourself in the shoes of

'Ronnie Wallace Long, a young black man, with a life style

that’s probably entirely different from any of you. He
probably talks-a lot differently, he probably doesn't have
the education that some of you have, and he looks different
than any of you. Hr. Vartania?

3 1 11".“ '-': ‘P~ ". *
1. .'.R. \- ."`_LLT£`L.\. _|_;1. . gas § Slr 0

¢.:‘.`-’

Do you feel that you can sit as a duror in this case

and put yourself in the shoes of this defendant?

(->
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, sir, I think l can.
a Hhat is your educational background, sir, how far did

you go_in school?

1A Righ School and refresher courses at different schools.

Q Do you feel that if a person uses languages that you

are not accustomed to hearing that that will somehow
influence you_against that person?

A Ho, sir;

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 40 of 49

 

 

 

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Q Do any of you feel that any of the factors that l
delineated would Keep you from being able to Judge

Ronnie Long in a fair and impartial manner without regard
to those factors?' Let me ask you Mr. Richey, and l don't
mean to be picking on you, you just happened to be first.
How far-- let me ask you this question of the jury as a
whole. Have-you;ever~had an_occasion to perhaps walk down

the street and'you~look‘across the street, or in a

-restaurant, or wherever it might be, and you see somebody

and you recogniae‘them, or at least you think you do, and
you holler,qu, Joe,~and'they turn around and you get a
little closer anu_ycu see that's not who it is, has that¢
ever happened to anybody on the Jury? All of you under-
stand that it is possible even under normal circumstances

to mistakenly identify somebody.
ostcTION. eusrsissn.

~Q Do any of you have-any bumper stickers on your cars
supporting your local police,¢or have you had any on
there? Not_that there would-be anything wronngith that,
I‘m just asking;if you have ever had a bumper sticker like
that on your car?. Do any of you feel like that there are
increasing crime.statistics? I'm not sure how Concord
stacks up. nl*m.sure in Charlotte the crime rate»is'up,

Do.any.of you feel that that will influence your ability;

 

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 41 of 49

 

 

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to sit on this jury without regard to what may be
happening in other cases? Any of you feel the rising
crime rate will influence you to favor the State in this
case? l briefly alluded to the fact that the judge will
instruct you, and has already said that the defendant has
no burden to take the witness stand in this case. Now, if

after you have heard all the State's evidence, and Mrs.

.Bost, or whatever other witnesses they may have, has id-

entified the defendant as being the person that she says
broke into her house, will you be able to keep an open
mind until you've heard any evidence the defendant may
choose to present? Let me direct that to you, Mr. Allison,
do you feel that you can keep an open mind after hearing
the State‘s-evidence?

NR. ALLISOH: Ch, yes.

Q Hr. Eonds, what about you? sir?

MR. BONDS: Yes, sir._

Q ` Mr. Bonds, you understand, and all of you, do you s
understand the way the process worhs? Is that the State
puts on all of its evidence before the defendant puts on
any, if it chooses to put on any, you understand that?

JURORS: Yes, sir.

\ Q Hr. Bonds, if after hearing all the evidence you were

not convinced beyond a reasonable doubt of the guilt of

the defendant, could you hold that view once you got into

 

Case 1:16-CV-00539-CCE-LPA Document 714 Filed 06/17/16 Paoe 42 of 49

 

 

 

 

 

 

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HR, BGHDS: Hellg I say the different reviews, I say he

 

the ury room and deliberated with your fellow jurors
. _ §

even if all the rest of them had a different view?

has a right to hold his, l reckon, as well as any of the
rest.1 d

Q Hhat I'n asking you, if you got back there in the jury
room, after you heard the evidence, and you had decided
that the State had not proved its case beyond a reasonable
doubt, and the other jurors, some of them, or all of them,
felt that the State had proved its case beyond a reasonable
doubt, and after listening to them and deliberating, and
still not being convinced differently, would you be able
to hold to your views that they had not proven their case
no matter what the other jurors said?

A l couldn't understand.

Q Do you feel that you'd have to go along with the

majority?

d Yes.

Q You do?

A Yes. _ _ l

a sowltnsto.nolng the foot you role the state haon't

proved their case you would go along with the majority of
the other jurors if they felt different?

A rio havoco go with the moderlty, it looks '~l-lke. `

mt An<lus; roor. sonor, l challenge him for‘ooll.

 

 

Case 1:16-CV-00539-CCE-LPA .Document 7-4 Filed 06/17/16 Paoe 43 of 49

 

 

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COURT: _I'll excuse you.

 

 

MR. ATKIHS: Mrs. Allman, did you hear and understand the
question I asked of Mr. Bonds? 1

MRS. ALLMAN: Yes,sir. _

Q ,lf you were not convinced that the State had proved its
case beyond a reasonable doubt, could you stick to your view
notwithstanding to what the other gurors said to you?

A Yes, sir.

Q In other Words, do all of you understand that your
verdict must be unanimous to reach a verdict, end do you
understand that if you are not convinced by the evidence
that you are entitled to vote your convictions notwith-
standing what the other jurors may say, if you_are not
convinced by the evidence that they have shown the de-
fendant guilty beyond a reasonable doubt? Mrr Skidmore,

l telieve you indicated that you'd read or heard something
about this case?

mt srionons: 'ros, sir. .

Q Did you discuss what you read or heard with anyone?
A Ho, sir, sure haven't. 4

Q Didn't discuss it with your wife, or your family or
anybody? '

A No, sir;

Q Did you read about it?

v A Yes, sir, in the paper, yes,sir.

Q Did any of you discuss or hear about this case et your
_places of employment, those of you who indicated you'd
heard or read about it? Mr. Richey, you nodded your head

Case 1:16-CV-00539-CCE-LPA Document 7-4 Filed 06/1?/16 Paoe 44 of 49

 

 

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there?

MR. RICHEY: Yes, sir.

Tell me what the context was?
Just talk.

At your place of employment?

supra

Yes, sir.
shot about the nature of the talk that you-4

Just pros and cons, sir.

¢O!I>¢O

Did you at any time say anything_to anybody about the
fact that the man has not been proven guilty by what's in

the newspaper?

 

A Right.
Q You said that to somebody you heard talking about it?
A Yes, sir.

Q Mr. Allison, did you hear somebody discussing it in

 

your presence? _

MR. ALLlSON;' l read it in the paper and my wife and I
discussed it. _ t

Q What was the nature of your discussion?

A Discussion in general who he was and who she was.

Q Did you express any opinions at that time as to the
probable guilt or innocence? d '

A l dcn't believe we did either way.

 

Q 'Is there anybody else who discussed this case with,
_-anybody? k y

§§BQ§: With my wife over dinner.

Q Did your wife express any opinion? _

h uo, gust the root that it too o terrible thing whoever

 

 

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saccub Juuos: lt was discussed in my family also, but no

decision as.to who was the guilty party.

'F MR, ATKINS; Ladies and gentlemen, once you begin your

: deliberations-in this case, should you be on the panel

thatls asked to decide the matter, and let's say the trial
had gone on all week and we were here Saturday, and you had
an opinion one way or the other, and there was disagreement
.among you in the jury room, would any of you be influenced
to change your views, or your vote because of the fact that
it had'been a long time that you had been away from your
homes, and your jobs, would you change your vote because

of thut, just to get the thing over with? Mrs.Snydcr% how
do you feel about that? v l

E§§, S§YDER: Ho? l would not change my mind no matter what.
Q` Hr. Haigler, you are missing time from'work, as I'm sure
most of you are, would that affect you at all?

§§, HAIGLER:’ Ho, sir.»

Q_ ls there anybody on the dury panel as it is presently

' constituted who has gotten offended, or angry, or anything

about anything I have asked any of you, if so to the extent.
that you might hold it against the defendant, Ronnie Long,

if so, I'd ash you to let me know. Is there anybody on the

- panel who for any reasou, that you don't have to tell me,

would_rather not serve on this gury? Mr. Vartonia, I asked

_ you about your membership in the National Rifle Association¢

hhs VRRTAHIA: Yes, sir.
Q ls there anything about your membership in that Associa-

tion that would cause you to have a pretensity to leon

:16-cv-00539-CCE-LPA Document7-4 Filed 06/17/16 Paoe 46 01°49

 

 

 

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_ CIERK: ?aul Hilson; Gene_Timothy Barringer; Carl W, Hilson

 

 

` toward a conviction in a case?

A None uhatsoever.'

Q Is there anything that offends you about the question
I just asked you? v

A uo, sir.

Q And you understand why I asked you?

A Yes, sir.

MR. ATKIH : Your Honor, we would at this time excuse Mr.
Allison, Hr. Shidmore, hrs. Slupe, Mrs. Sides.

COURT: Madam Clerk, call five jurors in the box, please.

bd

` Eugene h'mhail.clary; brow harrell roster.

EXAMIIATIOU BY MR. RGBEBTS:

MR. ROBEHTS:. The gentlemen in the yellow shirt, l did not

_get your name?
. JURGR: Gene T. Barringer¢

'uu, Roeaars:» end you, sir, are saul wilson?

PAUL WIESON: Yes, sir.
lou are Paul Wilson?

Yes, sir.

Q
A
Q Mr. Clary, sir? And you, sir, are Mr. Foster?
A Y@s, sir. `
Q

l address these questions solely to Mr. Barringer, Mr.

Paul Wilson, Mr. Carl Wilson, Mr. Clary, and Mr. Foster.

_Now, from where you folk have been seated in the courtroom

were-you able to hear,essehtially hear all of the questions
that F . Athins and myself have ashed_the other jurors?

JURORS: Yes.

Case '_:16-CV-00539-CCE-1_PA Document 7-4 Filed 06/17/16 Paoe 47 of 49

 

 

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Case _:16-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 48 of 49

JURORS:_ Yes, sir.

NB. EJJ RIHG E»: lll South Main Street,-Eount Pleasent.

 

 

Q Cen l essume, and were you able to hear and understand

the ens=.r rs of the other jurors?

Q Then you snow,_of course, what this esse is sbout? The
defendant is charged with rape end burglary. His Honer hes
explained what the punishment is, that is, up to life ime
prisonment on both counts. Mendatory life imprisonment if
he is convicted for what he's cherged, and you understand

thst? Nozz, Hr. Barringer, sir, where do you liJe here in

the county?'

Q And ere you employed, Hr. Barringer?

 

A Yes, sir, run en upholstery shop.

Q Seversl employed I assume? `

And ere you married, Mr. Barringer?

v »z
§ rs r_' 5 .`_r .

~ *~~:
Q -Did you end your wife have children?
A Eo, sir.
Q Mr. Barringer, do you recall reading or hearing anything
about this cese?
A Hell, maybe what was in the newspaper.-
Q Well, cer inly if you1 read the newspaper et any time
in the last six months you would have reed something about
it. The important thing is did you form any opinion as to
nis guilt or innocence from whet' you read?

Io, sir.

A
Q Heve no opinion et this moment?

 

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Q Do y-u kn w any of the people involved in this lawsuit5
Mr. Berringer?

A No, sir.

Q The defendent, his reletives, prosecuting witness, her
reletives, the attorneys involved?

A No, sir.

Q N . Peul Wilson, sir, where ere you from in the county?
MR, HILSGE: 303 West B. Street, Kennapolis.

And ere you employed, Mr. Wilson?

No, sir, I'm retired.' -

unc did you work for, sir?

Csnnon Mills.

Le:>¢o.*>¢o
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4'v.?erc_you merried, Mr. Wilson?

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wes out my wife'S desd.

A
Q Did you en the former Mrs. Wilson ever have children?

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Q I essum

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they're grown?
A §esh, they're grown.
Q Mr. uilson, sir, did you recall reading or hearing eny~

thing about this case in the newspaper?

Q Have no recollection of it et sll?
A

No.

,Q Do you subscribe to the Dsily Independent, Mr. Wilson?

A `Do whet?

w Do you take the Deily Independent Newspeper?

A Yes, sir.

 

Case i:lG-CV-00539-CCE-LPA Document 7-4 Filed 06/17/16 Paoe 49 of 49

